
7 Cal.2d 176 (1936)
THE PEOPLE, Respondent,
v.
JAMES F. WORKMAN, Appellant.
Crim. No. 4015. 
Supreme Court of California. In Bank.  
August 5, 1936.
 George Olshausen and George Anderson for Appellant.
 U.S. Webb, Attorney-General, and Ralph H. Cowing, Deputy Attorney- General, for Respondent.
 THE COURT.
 A hearing was granted in this court after decision by the District Court of Appeal, Third Appellate District, in order to consider defendant's contention *177 that reversible error had been committed by the trial court in passing upon the competency of jurors. It has subsequently appeared, and it is conceded by respondent, that after a prior trial, defendant's motion for a new trial was granted, and notice of appeal from the order granting such new trial was given by respondent. [1] Hence, an appeal was pending at the time the present trial took place, and the court below was without jurisdiction to try the defendant. The judgment must therefore be reversed on this ground, and it is unnecessary to determine the other issues raised by the defendant.
 The judgment is reversed.
